Case 2:21-cv-04797-MMB Document 2 Filed 10/28/21 Page 1 of 14
Case 2:21-cv-04797-MMB Document 2 Filed 10/28/21 Page 2 of 14
Case 2:21-cv-04797-MMB Document 2 Filed 10/28/21 Page 3 of 14
Case 2:21-cv-04797-MMB Document 2 Filed 10/28/21 Page 4 of 14
Case 2:21-cv-04797-MMB Document 2 Filed 10/28/21 Page 5 of 14
Case 2:21-cv-04797-MMB Document 2 Filed 10/28/21 Page 6 of 14
Case 2:21-cv-04797-MMB Document 2 Filed 10/28/21 Page 7 of 14
Case 2:21-cv-04797-MMB Document 2 Filed 10/28/21 Page 8 of 14
Case 2:21-cv-04797-MMB Document 2 Filed 10/28/21 Page 9 of 14
Case 2:21-cv-04797-MMB Document 2 Filed 10/28/21 Page 10 of 14
Case 2:21-cv-04797-MMB Document 2 Filed 10/28/21 Page 11 of 14
Case 2:21-cv-04797-MMB Document 2 Filed 10/28/21 Page 12 of 14
Case 2:21-cv-04797-MMB Document 2 Filed 10/28/21 Page 13 of 14
Case 2:21-cv-04797-MMB Document 2 Filed 10/28/21 Page 14 of 14
